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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
 __________________________________

 THE SATANIC TEMPLE, INC.

                  Plaintiff
                                                       Case No. 1:22-cv-1859-JMS-MG
           v.

 TODD ROKITA, in his
 capacity as the Attorney General of
 Indiana and
 RYAN MEARS, in his capacity as
 Marion County Prosecutor

             Defendants
 __________________________________

                                    DECLARATION OF DR. J. D.

           Dr. J.D, pursuant to 28 U.S.C. §1746, declares under penalty of perjury the following

 statements are true and correct:

           1.     I hold a Doctorate in Osteopathy and am a Fellow in The American Congress of

 Obstetricians and Gynecologists. I am licensed to practice medicine in four states. I have

 engaged in the practice of medicine as an obstetrics and gynecological specialist for over fifteen

 (15) years.

           2.     I make this declaration in opposition to the Defendants’ motion to dismiss, ECF

 No. 36.

           3.     I have reviewed the First Amended Complaint (the “Complaint”) in this action.

 The allegations made in the Complaint at ¶¶37 to 40, 43, 45 to 46, 48, 49, 51 to 54 and 56 to 65

 are true.

           4.     Virtually all scientific knowledge regarding the matters described in the preceding

 paragraph has been developed in the 20th and 21st Centuries. The scientific details for creating a



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 human zygote and its progression and development to birth as a human being capable of self-

 sustaining life were unknown in the 18th and 19th Centuries.

        5.        The fertility rate is a commonly used metric in obstetrics and expressed as the

 number of live births per 1,000 women of child-bearing age. The fertility rate in Indiana in 2017

 (the last year for which statistics are available) was 63.5 per 1,000 women.1

        6.        The induced abortion rate is a commonly used metric in obstetrics and expressed

 as the number of induced abortions per 1,000 women of child-bearing age. The induced abortion

 rate in Indiana in 2021 (the last year for which statistics are available) was 6.0 induced abortions

 per 1000 women.2

        7.        I am advised there are 5,650 women of child-bearing age in Indiana who are

 members of The Satanic Temple (“TST”). It is my opinion, to a reasonable degree of medical

 certainty based on the fertility and abortions rates for Indiana, that three hundred ninety-two

 (392) TST members in Indiana are pregnant during the course of a year.3

        8.        Contraception is routinely used by sexually active women to prevent becoming

 pregnant. There are many different forms of contraception, each with its own unique

 characteristics and risks for failure. With the exceptions of abstinence and sterilization, no

 method of contraception is fool proof. Women using contraception are always at risk for getting

 pregnant, typically (though not always) due to a failure to correctly use their chosen method of

 contraception.




 1
   https://www.in.gov/health/reports/natality/2017/tbl31_t.htm, last visited May 25, 2023
 2
   https://www.in.gov/health/vital-records/vital-statistics/terminated-pregnancy-reports/, 2021
 Terminated Pregnancy Report last visited June 9, 2023.
 3
   5,650 women x (63.5 fertility rate + 6.0 abortion rate) = 392.675


                                                   2
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         9.       The National Institute of Health reports that 88.2% of all women ages 15 to 44

 years used at least one form of contraception during their lifetime. Among women who could

 become pregnant but did not wish to do so, 90% use some form of contraception.4

         10.      The Centers for Disease Control and Prevention report that one-half of all

 pregnancies in the U.S. are unintended.5

         11.      The National Institute of Health reports that 48% of unintended pregnancies are

 due to a failure in the use of birth control.6

         12.      Applying these statistics, it is my opinion, to a reasonable degree of medical

 certainty, that ninety-four (94) TST members in Indiana are Involuntarily Pregnant Women

 during the course of a year.7 It is my opinion, to a reasonable degree of medical certainty, that at

 least one (1) of these women is pregnant at any given point in time during the course of a year.

         13.      Gestational surrogacy is common throughout the United States, including Indiana,

 which permits compensated surrogacy.

         14.      There are numerous online advertisements for gestational carriers in Indiana

 These include:

               a. Circle Surrogacy, offering $55,000. See

                  https://www.circlesurrogacy.com/surrogacy/surrogacy-by-state/surrogacy-in-

                  indiana#how-much-does-surrogacy-cost-in-indiana, last visited June 13, 2023;

               b. Creative Family Connections, offering $30,000 to $55,000. See




 4
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7533104/ last visited April 21, 2023
 5
   https://www.cdc.gov/reproductivehealth/contraception/unintendedpregnancy/index.htm , last
 visited April 21, 2023
 6
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2386600/ , last visited April 21, 2023.
 7
   392 x .5 x .48 = 94.08


                                                   3
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                   https://www.creativefamilyconnections.com/about-surrogacy/surrogate-

                   compensation/, last visited June 13, 2023;

              c. Storks Nest, offering $40,000 to $50,000. See

                   https://www.storksnestagency.com/gestational-surrogate-compensation, last

                   visited June 13, 2023;

              d. American Surrogacy, offering $60,000+. See

                   https://www.americansurrogacy.com/surrogate/surrogates-surrogate-pay, last

                   visited June 13, 2023.

        15.        I am advised that the TST Clinic uses the following procedure to prescribe and

 deliver mifeprestone and misoprostol (“Abortifacients”) to patients (the “Telemedicine Model”):

              a. The patient contacts the TST Clinic by phone or email;

              b. Personnel from the TST Clinic contact the patient by phone or email and collect

                   the information necessary to determine whether Abortifacients can be safely

                   prescribed to the patient in accordance with the risk evaluation and mitigation

                   strategy (“REMS”) established by the U.S. Food and Drug Administration

                   (“FDA”);

              c.   The patient consults with an Advance Practice Registered Nurse (“APRN”) by

                   video link, such as Zoom;

              d. The APRN determines during the course of the consultation whether writing the

                   patient a prescription for Abortifacients complies with REMS;

              e. If so, the APRN writes the prescription for Abortifacients during the consultation

                   which is filled by a third-party pharmacy authorized by the FDA to dispense

                   Abortifacients;




                                                    4
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              f. The Abortifacients are mailed to the patient.

        16.       I am advised that the procedure for obtaining an abortion using Abortifacients in

 Indiana requires the following procedures:

              a. All abortion related services must be provided by a physician in a hospital at

                 which he or she has admission privileges or at an ambulatory outpatient surgical

                 center for such hospital;

              b. All consultations by the patient with the physician must be in-person;

              c. The patient must sign an “informed consent” form and then wait at least eighteen

                 (18) hours before getting an abortion;

              d. The abortion thus requires two (2) in-person visits by the patient with the

                 physician and the Abortifacients must be ingested in the presence of the

                 physician.

        17.      It is my opinion, to a reasonable degree of medical certainty, that due to the travel

 time and waiting period required by the Indiana procedure, the delivery of an abortion using

 Abortifacients takes longer following the Indiana procedure than using the Telemedicine Model.

        18.      It is my opinion, to a reasonable degree of medical certainty, that due to the

 requirement in Indiana that only a physician with hospital privileges can prescribe

 Abortifacients, the cost of an abortion using Abortifacients is more expensive in Indiana than

 using the Telemedicine Model.

 June 14, 2023


 Dr. J.D.




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